Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 1 of 8

   

UNITED STATES DISTRICT COURT OOH

SOUTHERN DISTRICT OF NEW YORK UT HAY 35 Pi ae ay
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(IN THE SPACE AB TER THE FULL NAME(S) OF THE PLAINTIFF(S).)

Complaint

under the

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Defendant No.1 _ Cove thee) OLE y LEfe

er] kT jury Tria Yes, No__

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EAL COREE CT Et GuifRights Act, 42 U.S.C. 1983

 

 

 

Defendant No. 2 Loe ik oo fe Kebll fo (check one)
Len F TY CAN 9 e

 

Defendant No. 3 Ex hecfitlel QO LP CO?
Temes S¢bpeRr VY Linick

Defendant No. 4 Le ckok Won Del sPCE4
Lit MID BOSLEAG/.

Defendant No.8 A°L°58€ De wileh f0CO0G/ if

 

(In the space above, enter the full name(s) of the defendant(s). If you cannot fit the names of all of
the defendants in the space provided, please write, “see attached,” in the space above and attach
an additional sheet of paper with the full list of names. The names listed in the above caption must
be identical to those contained in Part I. No addresses should be included here.)
Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 2 of 8

Parties in this complaint:

List your name, identification number, and the name and address of your current place of con-
finement. Do the same for any additional plaintiffs named. Attach additional sheets of paper

as necessary.
Plaintiff: name LX. dof Metice ibbs they
ID # f O BE 6. L, FZ
Current Instituion oS MEE LN EC ¢ GE & TL g wibheliy
Address BEY TILIN TER. SE VOLE
PSEZ MING, Mevoyerk 7a ok

List all defendants’ names, positions, places of employment, and the address where each defen-
dant may be served/ Make sure that the defendant(s) listed below are identical to those
contained in the above caption. Attach additional sheets of paper as necessary.

 

 

Defendant No. 1 Name CO (C80 FO ORT Shield # J
Where Currently Employed ZC PEM Able COM CG ora lfipin (3 7
Address

 

 

Defendant No. 2 Name Leifol Lebel Legs Ma2g Shield #
Where Currently Employed Aeecal Ly BEN COLE, FE ONG! fe fo Uke

Address

 

 

Defendant No. 3 Ce DATES EGHCK IZ Shield #_
Where Currently Employed Aa SEA AA UEL) LOM he yg | PE ht

Address

 
Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 3 of 8

 

Defendant No. 4 Name Cfo VR der sk Shield #
Where Currently Employed fi SAENMEE LOSE i fh ‘f
address LLL ZMAM {Yep HL.
678 STOWE: Afplble, CL MLN FY of pk
Defendant No. 5 Name_ MLR SE Lekie Ch. ! gc tied Shield # iI B39 97
Where Currently Employed CR EZ A A Ep ALLEL LAI FOMy

Address

 

 

 

Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates, and locations of all relevant
events. You may wish to include further details such as the names of other persons involved in the
events giving rise to your claims. Do not give any legal arguments or cite any cases or statutes. If you
intent to allege a number of related claims, number and set forth each claim in a separate paragraph.

Attach additional sheets of paper as necessary.
=A) Yd), Eh)

 

: >» In what institution did the events giving rise to your claim(s) occur?
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CORRECEE 2 Wf lL FICE, £L7 Yo
Where in the institution did the events giving rise to your claim(s) occur? 3 /) “iad Flo3 G0 fC

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t date and Oproxanivate time did the events giving rise to your claim(s) occur?

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Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 4 of 8

 
 

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If you sustained ifjuries related to the events alleged above, describe them and state wh t m
treatment, if any, you required and received. id siLe Hos spitel Lou Lia Tt C Ci id

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Exhaustion of Administrative Remedies:

The Prison Litigation Reform Act of 1995, 42 U.S.C. 1997e(a), requires that, “no action shall be
brought with respect to prison conditions under section 1983 of this title, or any other Federal law,
by a prisoner confined in any jail, prison, or other correctional facility until such administrative
remedies as are available are exhausted.” Administrative remedies are also known as grievance pro-

cedures.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes \- No

the events giving rise to your claim(s).__ “<> < ERY AUER CO LLECILZONAC

If YES, name the jail, prison or other correctional facility where you were confined at the time of Me / 1
fae: iy

 
Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 5 of 8

Does the jail, prisonyor other correctional facility where your claim(s) arose have a grievance proce-
dure? Yes 7 No Do Not Know

Does the grievance procedure at the jail, prison, or a correctional facility where your claim(s)

arose cover some or all of your claim(s)? Y' No Do Not Know_

If YES, which claim(s)? BEG SLE, vad. bor Jt Mh? Le fee 0 Brad web leh hed
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Does the grievance procéduré at the jaik’prison, or other correctional facility wherg your claim(s)

 
 

arose not cover some of your claim)s)? Yes No Do Not Kno

lf YES, which claim(s)?__/ Let teke, CHE LAVELLE CEE typ I, Ko Gop Obs MOD
SIG Sg hk hi Ads d (CT dewepep LOLs 97: WS if fe 7

Did ee nce in the jail, prison, or other correctional facility where your Gains) arose?
Yes No

If NO, did you file a grievance about the events described in this complaint at any other jail, prison,
or other correctional facility? Yes _No

If you did file a grievance about the events described in this complaint, where did you file the griev-
ance? _< Io AY LEAL EBS Ce, Like frotif l96i Li fea sapsvig Cerchayy|

Fees 2 a ia J af A!
Which ah this complaint did you grieve? LEE. ) LL ELF 2 L4 ahi!

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What was ar Ee if any? a7 Ti LC LEN sah a

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z KRlroid 2 PC PE] VE fhe 72
What steps, if any, did you take to appeal that décision? Describe all efforts to appeal to the

highest level of the grievance process. Z”_ Avot! / / Le Gr Lilly FNM phacnietyl
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If you did fie's¢ a grievance, did you inform any officials of your claim(s)? Yes~ No

If YES, whom did you inform and when did you inform them? Po Sf ?

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Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 6 of 8

If NO, why not?

 

 

 

Please set forth any additional information that is relevant to the exhausticn of your administrative

remedies. 7 feof ¢ 7 LI Z We LL he Ld,
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Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your

administrative remedies.

Relief:

State what you want the court to do for you, LZ EM) FUE lg BOSE gietits

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Previous Lawsuits:
Have you filed other lawsuits in-state or federal court dealing with the same facts involved in this

action? Yes

If your answer to A is YES, describe each lawsuit in questions 1 through 7 on the next page. If there
is more than one lawsuit, describe the additional lawsuits on another piece of paper, using the

same format.
Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 7 of 8

Parties to this previous lawsuit:

Plaintiff

 

Defendants

Court (if federal court, name the district; if state court, name the county)

 

Docket or Index number:

 

Name of Judge assigned to your case:

 

Approximate date of filing lawsuit:

 

Is the case still pending? Yes No

 

If NO, give the approximate date of disposition:

What was the result of the case? (for example: Was the case dismissed? Was there judgment in
your favor? Was the case appealed?)

 

 

 

No

Have you ,. d other lawsuits in state or federal court otherwise relating to your imprisonment? Yes

If your answer to C is YES, describe each lawsuit in questions 1 through 7 on the next page. (If there
is more than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same format.)

Parties to this previous lawsuit:

Plaintiff LgEl te BY
Defendants L382 oY Ke edt 4 - SUMMER.

Court (if federal court, name the district; if state court, name the county)

 

 

 

 

Docket or index number: ~

Name of Judge assigned to your case: DAU IY Al (tiff
Case 7:17-cv-03652-KMK Document1 Filed 05/15/17 Page 8 of 8

Approximate date of filing lawsuit: MM “/ CP Fb a
Is the case still pending? Yes Ne”
yp fof Lita
if NO, give the approximate date of disposition: AM TL J o7

What was the result of the case? (for exa es Was ee case dismissed? Was there judgment in

your favor? Was the case appealed?) SF Dipti eal
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Signed this a day of Seat ip , 20/ /. | declare under penalty of perjury that the foregoing is

true and correct.

Signature of Plaintiff LA Lie VL
inmate Number ZLIELELI Va
Mailing Address <So-7@ S40 & conechoil but St Ay
58¢- HidwleeR SELLE A
Fo. 22 2) NEVIAK MIE.

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and provide
their inmate numbers and addresses.

 

79 Vp} By VA fF
| declare under penalty of perjury on this 44 day of LYLE j_,20 iy , | will deliver this complaint
to prison authorities to be mailed to the Pro Se Office of the United States District Court for the South-

ern District of New York.
Lill hit
Signature of Plaintiff: LE MLE Mibed.

 

  
